                                 EXHIBIT A
                              [June 2021 Invoice]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-1, Filed 04/25/22, Entered 04/25/22 18:41:26,
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                                 Pachulski Stang Ziehl & Jones LLP
                                           780 Third Avenue
                                              34th Floor
                                          New York, NY 10017
                                                                June 30, 2021
IDS                                                             Invoice 129096
                                                                Client    18502
                                                                Matter    00002
                                                                          IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2021
               FEES                                               $11,449.00
               EXPENSES                                              $500.00
               TOTAL CURRENT CHARGES                              $11,949.00

               BALANCE FORWARD                                   $475,537.96
               A/R Adjustments                                   -$10,829.50
               LAST PAYMENT                                      $380,076.26
               TOTAL BALANCE DUE                                  $96,581.20




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Diocese of Buffalo O.C.C.                                            Invoice 129096
18502 - 00002                                                        June 30, 2021




  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours             Amount

 BMM        Michael, Brittany M.        Counsel           695.00       6.20           $4,309.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00       0.50            $350.00

                                                                       9.20           $6,440.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                       0.50            $350.00
 JIS        Stang, James I.             Partner           700.00
                                                                     16.40            $11,449.00




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18502 - 00002                                                           June 30, 2021


  Summary of Services by Task Code
  Task Code         Description                                 Hours                      Amount

 BL                 Bankruptcy Litigation [L430]                 1.30                      $910.00

 CA                 Case Administration [B110]                   1.90                    $1,326.00

 CO                 Claims Admin/Objections[B310]                0.30                      $208.50

 CP                 Compensation Prof. [B160]                    0.30                      $208.50

 GC                 General Creditors Comm. [B150]               1.00                      $697.00

 H                  Hearings                                     2.80                    $1,946.00

 IC                 Insurance Coverage                           5.30                    $3,705.00

 ME                 Mediation                                    0.60                      $420.00

 SL                 Stay Litigation [B140]                       0.90                      $628.00

 WO                 Write Offs                                   2.00                    $1,400.00

                                                                        16.40            $11,449.00




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Diocese of Buffalo O.C.C.                                            Invoice 129096
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  Summary of Expenses
  Description                                                                          Amount
Outside Services                                                                  $500.00

                                                                                       $500.00




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Diocese of Buffalo O.C.C.                                                                         Invoice 129096
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                                                                                          Hours           Rate      Amount

  Bankruptcy Litigation [L430]
 06/09/2021   IDS      BL       Work on motion to compel debtor documents.                 1.30        700.00       $910.00

                                                                                           1.30                     $910.00

  Case Administration [B110]
 06/15/2021   IDS      CA       Telephone call with Debtor's counsel regarding case        0.50        700.00       $350.00
                                issues, mediator.
 06/15/2021   BMM      CA       Call with Debtor's counsel regarding ongoing case          0.50        695.00       $347.50
                                issues.
 06/21/2021   JIS      CA       Call with Debtor regarding case status.                    0.30        700.00       $210.00
 06/21/2021   IDS      CA       Telephone conference with Debtor's counsel                 0.30        700.00       $210.00
                                regarding case issues, including AG, mediators.
 06/21/2021   BMM      CA       Call with Debtor's counsel regarding ongoing case          0.30        695.00       $208.50
                                issues.

                                                                                           1.90                    $1,326.00

  Claims Admin/Objections[B310]
 06/23/2021   BMM      CO       Call with J. Allison regarding CVA documents.              0.30        695.00       $208.50

                                                                                           0.30                     $208.50

  Compensation Prof. [B160]
 06/07/2021   BMM      CP       Draft PSZJ interim fee application.                        0.30        695.00       $208.50

                                                                                           0.30                     $208.50

  General Creditors Comm. [B150]
 06/02/2021   IDS      GC       Respond to S. Benson request for information.              0.40        700.00       $280.00
 06/02/2021   BMM      GC       Call with claimant regarding case issues.                  0.30        695.00       $208.50
 06/11/2021   BMM      GC       Review documents in response to SCC inquiry.               0.30        695.00       $208.50

                                                                                           1.00                     $697.00

  Hearings
 06/14/2021   BMM      H        Prepare summary of hearing for team.                       0.20        695.00       $139.00
 06/14/2021   BMM      H        Participate in hearing on Debtors' professionals' fees.    1.10        695.00       $764.50
 06/14/2021   BMM      H        Prepare PSZJ interim fee application.                      1.50        695.00      $1,042.50

                                                                                           2.80                    $1,946.00




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                                                                                    Hours           Rate        Amount

  Insurance Coverage
 06/02/2021   BMM      IC       Participate in insurance adversary proceeding        1.00        695.00          $695.00
                                scheduling conference.
 06/03/2021   IAWN IC           Review coverage chart to prep for Committee call.    0.10        700.00           $70.00
 06/15/2021   IDS      IC       Work on insurance issues, mediator selection.        0.80        700.00          $560.00
 06/28/2021   IDS      IC       Continue insurance analysis.                         3.00        700.00        $2,100.00
 06/29/2021   IAWN IC           Review coverage charts.                              0.20        700.00          $140.00
 06/29/2021   IAWN IC           Exchange emails with B. Michael re coverage          0.10        700.00           $70.00
                                charts.
 06/29/2021   IAWN IC           Exchange emails with B. Michael and I. Scharf re     0.10        700.00           $70.00
                                1972-75 coverage.

                                                                                     5.30                      $3,705.00

  Mediation
 06/02/2021   IDS      ME       Telephone call with Brittany Michael regarding       0.40        700.00          $280.00
                                mediation.
 06/18/2021   JIS      ME       Call I. Scharf regarding mediation process.          0.20        700.00          $140.00

                                                                                     0.60                        $420.00

  Stay Litigation [B140]
 06/24/2021   BMM      SL       Revise parish stipulation.                           0.40        695.00          $278.00
 06/25/2021   IDS      SL       Review and revise B. Michael revision and futher     0.50        700.00          $350.00
                                parish stipulation.

                                                                                     0.90                        $628.00

  Write Offs
 06/28/2021   IDS      WO       Revise invoices.                                     2.00        700.00        $1,400.00

                                                                                     2.00                      $1,400.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $11,449.00




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Diocese of Buffalo O.C.C.                                                              Invoice 129096
18502 - 00002                                                                          June 30, 2021



 Expenses

 06/30/2021   OS         Everlaw, Inv. 42047, Diocese Buffalo database for the month      500.00
                         of June

   Total Expenses for this Matter                                                      $500.00




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Diocese of Buffalo O.C.C.                                                                 Invoice 129096
18502 - 00002                                                                             June 30, 2021


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        06/30/2021

Total Fees                                                                                             $11,449.00

Total Expenses                                                                                             500.00

Total Due on Current Invoice                                                                           $11,949.00

  Outstanding Balance from prior invoices as of        06/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                     $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                     $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                     $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                     $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

             Total Amount Due on Current and Prior Invoices:                                           $96,581.20




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